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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

 UNITED STATES OF AMERICA,              )
                                        )
              Plaintiff,                )
                                        )
       v.                               )       Case No. 4:18 CR 975 CDP
                                        )
 DUSTIN BOONE,                          )
 CHRISTOPHER MYERS, and                 )
 STEVEN KORTE,                          )
                                        )
              Defendants.               )

                                    ORDER

       As discussed on the record at the status hearing held on January 14, 2021:

       IT IS HEREBY ORDERED that this case remains set for jury trial on

 Monday, March 15, 2021 at 8:30 a.m. in Courtroom 3 North. This is a

 special setting.

       IT IS FURTHER ORDERED that a final pretrial hearing will be held on

 Tuesday, March 2, 2021 at 9:00 a.m. in Courtroom 3 North. This is an in

 person hearing and defendants’ presence is required. In advance of that hearing

 counsel for the government and defendants are directed to comply with each of

 the following procedures and deadlines:

       1.     Not later than Monday, February 15, 2021 all parties must provide
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 notice of their intent to introduce any expert testimony under Federal Rule of

 Evidence 702, and must provide to opposing counsel all information set out in

 Rule 16(a)(1)(G), Fed. R. Crim. Pro.

       2.     Not later than Monday, February 15, 2021 the government must file

 its proposed jury instructions.

       3.     Not later than Monday, February 22, 2021 the parties must file any

 motions in limine seeking to exclude or limit evidence; any memorandum in

 opposition must be filed not later than Friday, February 25, 2021.

       4.     Not later than Friday, February 25, 2021 the parties must joinly file

 a list of supplemental questions any party wishes the Court to ask during voir dire;

 any disagreements regarding the questions must be set out in the document.




                                         ______________________________
                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE

 Dated this 14th day of January, 2021.




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